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 8                                   UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    RALPH COLEMAN, et al.,                           No. 2:90-cv-0520 KJM DB P
12                      Plaintiff,
13           v.                                        ORDER
14    GAVIN NEWSOM, et al.,
15                      Defendants.
16

17

18          The matter of payment of the special master has been referred to this court by the district
19   court. The court has reviewed the bill for services provided by the Special Master in the above-
20   captioned case through the month of April 2020. Pending deposit of additional funds as required
21   by order of the district court, IT IS HEREBY ORDERED that:
22                  1. The Clerk of the Court is directed to pay to
23                         Pannone Lopes Devereaux & O’Gara LLC
                           Attn: Matthew A. Lopes, Jr., Esq., Special Master
24                         Northwoods Office Park, Suite 215N
                           1301 Atwood Avenue
25                         Johnston, RI 02919
26
27   the amount of $894,277.10 as partial payment of the statement attached to this order;
28
                                                      1
     Case 2:90-cv-00520-KJM-DB Document 6704 Filed 06/05/20 Page 2 of 6

 1                    2. The Clerk of the Court of the court shall pay the balance of $4,777.45 on that

 2   statement upon receipt of defendants’ next deposit of funds; and

 3                    3. A copy of this order shall be served on the financial department of this court.

 4   Dated: June 5, 2020
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     /cole20.apr.pp
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     Case 2:90-cv-00520-KJM-DB Document 6704 Filed 06/05/20 Page 3 of 6

 1   RALPH COLEMAN, et al.,                      :
         Plaintiffs,                             :
 2                                               :       No. Civ. S-90-0520 LKK JFM P
            v.                                   :
 3                                               :
     EDMUND G. BROWN, JR., et al.                :
 4       Defendants.

 5   The Special Master hereby submits his latest statement for fees and disbursements, including
     those accrued through April 30, 2020.
 6
     Matthew A. Lopes, Jr., Special Master
 7                Services                       $62,192.00
                  Disbursements                   $3,482.55
 8
                           Total amount due                     $65,674.55
 9
     Mohamedu F. Jones, J.D., Deputy Special Master
10               Services                     $52,325.00
                 Disbursements                      $0.00
11
                           Total amount due                     $52,325.00
12
     Kerry F. Walsh, J.D., Deputy Special Master
13                 Services                      $47,600.00
                   Disbursements                 $     0.00
14
                           Total amount due                     $47,600.00
15
     Kristina M. Hector, J.D.
16                 Services                      $50,807.00
                   Disbursements                 $     0.00
17
                           Total amount due                     $50,807.00
18
     Steven W. Raffa, J.D.
19                Services                       $       0.00
                  Disbursements                  $       0.00
20
                           Total amount due                     $      0.00
21

22   Regina M. Costa, MSW., J.D.
                  Services                       $43,028.50
23                Disbursements                  $     0.00

24                         Total amount due                     $43,028.50

25
     LaTri-c-ea McClendon-Hunt, J.D.
26                Services                       $46,060.00
                  Disbursements                  $     0.00
27
                           Total amount due                     $46,060.00
28
                                                     3
     Case 2:90-cv-00520-KJM-DB Document 6704 Filed 06/05/20 Page 4 of 6

 1   Angelyne E. Cooper, J.D.
                  Services                    $44,462.00
 2                Disbursement                $     0.00

 3                         Total amount due                $44,462.00

 4   Rachel Gribbin
                   Services                   $24,320.00
 5                 Disbursement               $     0.00

 6                         Total amount due                $24,320.00

 7   Lana L. Lopez
                     Services                 $34,561.00
 8                   Disbursement             $     0.00

 9                         Total amount due                $34,561.00

10   Braxton H. Medlin
                  Services                    $30,479.50
11                Disbursement                $     0.00

12                         Total amount due                $30,479.50

13   Michael F. Ryan, Jr.
                   Services                   $22,513.00
14                 Disbursement               $     0.00

15                         Total amount due                $22,513.00

16   William J. Trezvant
                   Services                   $15,345.50
17                 Disbursement               $     0.00

18                         Total amount due                $15,345.50

19   Sofia A. Millham
                   Services                   $18,620.00
20                 Disbursement               $     0.00
21                         Total amount due                $18,620.00

22
     Kerry C. Hughes, M.D.
23                Services                    $46,225.00
                  Disbursements               $     0.00
24
                           Total amount due                $46,225.00
25
     Jeffrey L. Metzner, M.D.
26                  Services                  $26,950.00
                    Disbursements             $     0.00
27
                           Total amount due                $26,950.00
28
                                                 4
     Case 2:90-cv-00520-KJM-DB Document 6704 Filed 06/05/20 Page 5 of 6

 1   Mary Perrien, Ph.D.
                   Services                 $21,650.00
 2                 Disbursements            $     0.00

 3                       Total amount due                $21,650.00

 4   Patricia M. Williams, J.D.
                   Services                 $27,706.50
 5                 Disbursements            $     0.00

 6                       Total amount due                $27,706.50

 7   Henry A. Dlugacz, MSW, J.D.
                  Services                  $28,775.00
 8                Disbursements             $     0.00

 9                       Total amount due                $28,775.00

10   Lindsay M. Hayes
                  Services                  $30,125.00
11                Disbursements             $     0.00

12                       Total amount due                $30,125.00

13   Timothy A. Rougeux
                  Services                  $38,305.00
14                Disbursements             $     0.00

15                       Total amount due                $38,305.00

16   Cynthia A. Radavsky, M.Ed
                  Services                  $ 3,971.50
17                Disbursements             $     0.00

18                       Total amount due                $ 3,971.50

19   Roderick Q. Hickman
                   Services                 $ 2,937.50
20                 Disbursements            $     0.00
21                       Total amount due                $ 2,937.50

22   Maria Masotta, Psy.D.
                   Services                 $19,500.00
23                 Disbursements            $     0.00

24                       Total amount due                $19,500.00

25
     Karen Rea PHN, MSN, FNP
26               Services                   $49,925.00
                 Disbursements              $     0.00
27
                         Total amount due                $49,925.00
28
                                               5
     Case 2:90-cv-00520-KJM-DB Document 6704 Filed 06/05/20 Page 6 of 6

 1   EmployStats
                    Services                       $ 4,988.00
 2                  Disbursements                  $     0.00

 3                           Total amount due                     $ 4,988.00

 4   James F. DeGroot, Ph.D.
                  Services                         $42,600.00
 5                Disbursements                    $     0.00

 6                           Total amount due                     $42,600.00

 7   Brian J. Main, Psy.D.
                    Services                       $38,525.00
 8                  Disbursements                  $     0.00

 9                           Total amount due                     $38,525.00

10   Kahlil Johnson, M.D.
                   Services                        $11,175.00
11                 Disbursements                   $     0.00

12                           Total amount due                     $11,175.00

13   Sharen Barboza, PhD.
                  Services                         $ 9,900.00
14                Disbursements                    $     0.00

15                           Total amount due                     $ 9,900.00

16   TOTAL AMOUNT TO BE REIMBURSED                                        $899,054.55

17
     Receipts for justification of reported expenditures are available upon request.
18

19   Respectfully submitted,

20   /s/ Matthew A. Lopes, Jr.
21   Matthew A. Lopes, Jr.
     Special Master
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